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                       UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF PENNSYLVANIA

 KARL KREIG,

                      Plaintiff                    CIVIL ACTION NO. 3:21-CV-74

       v.                                               (MEHALCHICK, M.J.)

 WALMART STORES, INC.,

                      Defendant



                            CASE MANAGEMENT ORDER

      AND NOW, this 6th day of April, 2021, having heard from the parties on a Joint

Case Management Conference, IT IS HEREBY ORDERED that the following case

management deadlines are established in the above-captioned matter:

      1. This case is referred to court-annexed mediation in accordance with Standing
         Order 04-3, In Re Authorizing Systematic Random Mandatory Mediation
         Referrals in Certain Cases Types, (July 26, 2004).

      2. The following individual is appointed to serve as the mediator in this action:

            Frank J. Brier, Esquire
            Myers Brier & Kelly LLP
            Suite 200
            425 Spruce Street
            Scranton, PA 18503
            (570) 342-6100
            FBrier@MWKlaw.com

      3. The mediation conference shall be scheduled by the mediator after conferring with
         counsel and shall take place within the next sixty (60) days.

      4. In accordance with M.D.Pa. Local Rule 16.8.3, the mediator’s preparation time
         and the first six hours of mediation services shall be provided pro bono. After six
         hours of mediation, the parties and the mediator shall proceed in accordance with
         one of the courses of action outlined in L.R. 16.8.3(a).
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      5. Discovery. All discovery shall be completed by August 31, 2021. The
         parties are reminded that the Court expects counsel to make all reasonable
         efforts to resolve discovery disputes without Court involvement, and that a
         conference with the Court should be initiated prior to any discovery motion
         being filed. Per the parties’ case management plan and the case
         management conference held before the Court, the parties agree to the
         following discovery parameters:

         a. Depositions. Plaintiff shall be allowed 10 depositions.
            Defendants, collectively, shall be allowed 10 depositions.

         b. Interrogatories. Plaintiff shall be allowed to serve 25
            interrogatories. Each Defendant shall be allowed to serve 25
            interrogatories.

         c. Requests for Production: Plaintiff shall be allowed to serve 25
            requests for production of documents. Each Defendant shall be
            allowed to serve 25 requests for production of documents.

         d. Requests for Admission: Plaintiff shall be allowed to serve 25
            requests for admission. Each Defendant shall be allowed to serve
            25 requests for admission.

      6. Expert Discovery.

         a. Plaintiff’s Rule 26(a)(2) disclosures shall be made by August 31, 2021.

         b. Defendants’ Rule 26(a)(2) disclosures shall be made by September 30, 2021.

         c. Any supplemental expert disclosures shall be produced by October 15, 2021.

         d. All expert witness depositions shall be completed by December 3, 2021.

      7. Dispositive Motions. All dispositive motions, together with supporting briefs,
         shall be filed by December 10, 2021.



                                         BY THE COURT:

Date: April 6, 2021                      /s/ Karoline Mehalchick
                                         KAROLINE MEHALCHICK
                                         United States Magistrate Judge


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